     Case 20-21257-JNP   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45             Desc
                                   TDP Page 1 of 16




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4883-1853-7251, v. 1
         Case 20-21257-JNP                     Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                       Desc
                                                         TDP Page 2 of 16




UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1


In re:                                                          Chapter 11

THE DIOCESE OF CAMDEN, NEW JERSEY,                              Case No. 20-21257 (JNP)

                         Debtor.


                  TRUST DISTRIBUTION PLAN IN CONNECTION WITH THE
                 SEVENTHEIGHTH AMENDED PLAN OF REORGANIZATION1

         This document is the “Trust Distribution Plan” and the procedures set forth herein are the
  “Trust Distribution Procedures” defined in the SeventhEighth Amended Plan of Reorganization
  (the “Plan”). The terms of the Plan shall prevail if there is any discrepancy between the terms of
  the Plan and the terms of this Trust Distribution Plan.

         1.       Abuse Claims Reviewer. [●] is the Abuse Claims Reviewer. The Abuse Claims
  Reviewer shall conduct a review of each of (i) the Proofs of Claim filed by Holders of Class 5
  Claims against the Debtor in the Chapter 11 Case (each an “Abuse Claim,” and the holder of an
  Abuse Claim being an “Abuse Claimant”) and (ii) the Claims Filed by Unknown Abuse
  Claimants (if any) within 7 years of the Effective Date in order to (a) determine if such Claim
  should be Allowed and (b) if such Claim is Allowed, value the Abuse Claims using the Evaluation
  Factors set forth below.

         2.       Document Submission Deadline. No later than 30 days after the Effective Date
  (the “Document Submission Deadline”), the Diocese, the Other Catholic Entities (together with
  the Diocese, the “Diocese Affiliated Entities”) and the Non-Settling Insurers may, but are not
  required to, provide the Abuse Claims Reviewer and the relevant Abuse Claimant, and his or her
  counsel, with documents that might assist the Abuse Claims Reviewer in determining whether to
  Allow an Abuse Claim.

         3.     Abuse Claim Supplement Deadline. No later than 30 days after the Document
  Submission Deadline (such date being the “Abuse Claim Supplement Deadline”), Abuse
  Claimants shall be permitted to supplement their Abuse Claim by providing the Abuse Claims
  Reviewer with a supplement to their Proof of Claim, not to exceed 5 typed pages, addressing the
  Evaluation Factors (defined below) and any other issue bearing on the evaluation of the Abuse
  Claim.



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           All capitalized terms not defined below have the meaning ascribed to such term in the SeventhEighth
           Amended Plan of Reorganization.
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  4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                   Desc
                                                  TDP Page 3 of 16




        4.      The Initial Review of Class 5 Claims. Beginning within 30 days of the Abuse
Claim Supplement Deadline, the Abuse Claims Reviewer will evaluate each Proof of Claim filed
by the Holder of a Class 5 Claim, as may have been supplemented in accordance with Paragraph
3 herein, and, in doing so, use the Evaluation Factors set forth in Section 11 below to determine
(the “Initial Review Determination”):

         (i)      Whether the Abuse Claim should be Allowed (in such instance the Abuse Claimant
                  is an “Allowed Claimholder,” and its claim, an “Allowed Claim”); and

         (ii)     If an Abuse Claim is an Allowed Claim, the amount of points to be assigned to the
                  Allowed Claim (the “Proposed Allowed Claim Amount”).

        5.      Right to Request Additional Information. Before making an Initial Review
Determination, the Abuse Claims Reviewer may request that an Abuse Claimant provide
additional documentation to support his or her Abuse Claim. The Abuse Claims Reviewer’s
deadline to issue the Initial Claims Review Determination Letter (defined below) shall be extended
if such request for additional information is made of an Abuse Claimant.

      6.     Determinations Made Under Initial Claims Review. Within 60 days of the
Abuse Claim Supplement Deadline, or as soon thereafter as is reasonably practicable, the Abuse
Claims Reviewer will provide written notice to each Abuse Claimant or his or her counsel of
whether the Abuse Claim is Allowed and if so, the valuation of the Allowed Claim (the “Initial
Claims Review Determination Letter”).

       The Initial Claims Review Determination Letter will be sent in accordance with the Abuse
Claimant’s preference for communication method selected in Part 2 of his or her Proof of Claim;
provided, however, that if an Abuse Claimant is not represented by counsel and selected home
voicemail or cell voicemail as his or her preferred communication method, the Initial Claims
Review Determination Letter shall be sent via electronic email if an email address was provided
on the Proof of Claim. If an email address was not provided, the Initial Claims Review
Determination Letter shall be mailed by certified mail, return receipt requested, postage prepaid.

        If an Abuse Claimant is sent the Initial Claims Review Determination Letter by email, the
Initial Claims Review Determination Letter shall be deemed received upon being sent unless an
error message is received by the sender indicating that such email address is invalid, no longer in
use or the email has otherwise not been delivered, in which case the Initial Claims Review
Determination Letter shall be mailed by certified mail, return receipt requested, postage prepaid.

         7.       Acceptance or Reconsideration of the Initial Claims Review. Abuse Claimants
may:

         (i)      Accept the determinations set forth in the Initial Claims Review Determination
                  Letter; or

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4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                  TDP Page 4 of 16




         (ii)     Seek reconsideration of the determinations set forth in the Initial Claims Review
                  Determination Letter.

                  (a)    Acceptance of the Initial Claims Review Determination Letter. If the
                         Abuse Claimant accepts the determinations set forth in the Initial Claims
                         Review Determination Letter, the Abuse Claimant need not take any further
                         action other than as provided in the Initial Claims Review Determination
                         Letter.

                         If an Allowed Claimholder accepts the determinations set forth in the Initial
                         Claims Review Determination Letter, the Allowed Claimholder shall have
                         the right to distributions from the Trust as provided for in paragraph 13
                         below.

                  (b)    Reconsideration Requests. To appeal any of the determinations set forth
                         in the Initial Claims Review Determination Letter, an Abuse Claimant must
                         first make a written request for reconsideration to the Abuse Claims
                         Reviewer of (i) the disallowance of his or her Abuse Claim or (ii) the
                         valuation of the Allowed Claim (a “Reconsideration Request”) within 10
                         days of receiving the Initial Claims Review Determination Letter (the
                         “Reconsideration Deadline”).

                         Any Abuse Claimant who does not submit a Reconsideration Request to the
                         Abuse Claims Reviewer by the Reconsideration Deadline shall be deemed
                         to accept all determinations made in the Initial Claims Review
                         Determination Letter.

                         Each Reconsideration Request must be accompanied by payment of $500
                         as an administration fee for reconsideration (the “Reconsideration
                         Administration Fee”), which reflects a good faith estimate of the cost to
                         the Trust of reconsidering the value of the Abuse Claim. The
                         Reconsideration Administration Fee is non-refundable irrespective of the
                         decision ultimately made by the Abuse Claims Reviewer.

                         Upon receipt of a Reconsideration Request and payment of the
                         Reconsideration Administration Fee by the Reconsideration Deadline, the
                         Abuse Claims Reviewer will reconsider the Abuse Claim and will have the
                         discretion to maintain the prior determination or modify the prior
                         determinations, including disallowing a previously Allowed Claim or
                         reducing the Proposed Allowed Claim Amount.

                         The Abuse Claims Reviewer shall notify all Abuse Claimants timely
                         submitting a Reconsideration Request and paying the Reconsideration
                         Administration Fee of its final determination within 90 days of the
                         Reconsideration Deadline (the “Reconsideration Decision”).
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4883-1853-7251, v. 1
     Case 20-21257-JNP                   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                     Desc
                                                   TDP Page 5 of 16




                         An Abuse Claimant’s sole recourse to appeal the Reconsideration Decision
                         shall be through the State Court Option as described below.

        8.      Verdict Value Assessment. If an Abuse Claimant and the Trust Administrator
agree, an Abuse Claimant will submit its Abuse Claim for review under the following procedures
(the “Verdict Value Assessment”). An Abuse Claim reviewed under these procedures shall be
referred to herein as an “Independent Review Claim” and the holder of such claim shall be
referred to herein as an “Independent Review Claimholder.”

                The commencement of the Verdict Value Assessment need not await completion
of the Initial Review Determination but all Abuse Claims must proceed through the Initial Review
Determination so that they receive the points contemplated by the Evaluation Factors used below.

         (i)      Order of Consideration of Independent Review Claims. The Trust Administrator
                  shall have sole authority to determine the order in which Independent Review
                  Claims are adjudicated in accordance with the procedures below.

         (ii)     The Neutral. The Verdict Value Assessment shall be overseen by a retired judge
                  with tort experience (a “Neutral”) selected by the Trust Administrator, upon
                  consultation with the Trust Advisory Committee, the Independent Review
                  Claimholder, the Diocese Affiliated Entities and the Non-Settling Insurers. Prior
                  to the Neutral’s formal retention, the Neutral shall disclose all of his or her
                  relationships, if any, with the Trust Administrator, the Trust Advisory Committee,
                  the Independent Review Claimholder and his or her counsel, the Diocese Affiliated
                  Entities and the Non-Settling Insurers.

         (iii)    Costs Paid By the Trust. The costs associated with the Verdict Value Assessment
                  shall be paid by the Trust, including the cost of any depositions, independent
                  medical examinations, and the valuation by the Neutral. Recovery of such costs
                  may be sought from any Non-Settling Insurer subject to the applicable terms and
                  conditions of any Non-Settling Insurer Policy. Any recoveries by the Trust on
                  account of such costs will become Trust Assets to be distributed in accordance with
                  the Trust Agreement and this Trust Distribution Plan.

         (iv)     Discovery. The Independent Review Claimholder and any potential Responsible
                  Insurer (defined below) shall be entitled to discovery from the Trust (as successor
                  to the Diocese Affiliated Entities) and from third parties, in accordance with
                  procedures to be established by the Neutral; provided that discovery associated with
                  review of any Independent Review Claim shall not exceed ninety (90) days barring
                  exceptional circumstances which shall be determined in the sole discretion of the
                  Neutral.

         (v)      Participation of Independent Review Claimant in Verdict Value Assessment. Each
                  Independent Review Claimant shall be required to, among other things, (i) respond
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4883-1853-7251, v. 1
     Case 20-21257-JNP                    Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                    TDP Page 6 of 16




                  to reasonable discovery requests propounded by a Diocese Affiliated Entity or a
                  Responsible Insurer or provide other otherwise reasonably requested information
                  to develop the Independent Review Claim and (ii) reasonably cooperate with the
                  Neutral to establish the validity and amount (if any) of the Independent Review
                  Claim by, including, but not limited to, sitting for a single sworn six-hour
                  deposition and/or submitting to a mental health examination.

         (vi)     Considerations in Determining Verdict Value. In determining the amount (if any)
                  of damages and other costs that a reasonable jury might award for the Independent
                  Review Claim (the “Verdict Value”), the Neutral shall consider (i) evidence
                  submitted by the Trust, the Independent Review Claimholder, the Diocese
                  Affiliated Entities and/ or any potential Responsible Insurer(s) and (ii) the relative
                  shares of fault that may be attributed to any parties potentially responsible for the
                  Independent Review Claim under applicable law.

                  Applying the same standard of proof that would apply under applicable law, the
                  Neutral shall then decide how much a reasonable jury would award (if any) for the
                  damages that were proximately caused by each such party. If the Neutral believes
                  a reasonable jury would find some damages were proximately caused solely by the
                  alleged perpetrator(s), the Neutral shall exclude such damages. If the Neutral
                  believes a reasonable jury would find any party jointly and severally liable for any
                  damages, the Neutral shall include such findings.

         (vii)    Diocese Affiliated Entities Participation. The Diocese Affiliated Entities will
                  participate in the Verdict Value Assessment to defend the Diocese Affiliated
                  Entities by, including, but not limited to, responding to reasonable discovery
                  requests and appearing at any hearing scheduled by the Neutral. If a Diocese
                  Affiliated Entity’s participation in the Verdict Value Assessment is required, the
                  relevant Diocese Affiliated Entity shall be entitled to select its own professionals
                  in connection with the Verdict Value Assessment, including but not limited to, (i)
                  experts and (ii) legal counsel, but the selection of legal counsel shall be consistent
                  with the relevant Diocese Affiliated Entity’s historical retention and use of such
                  counsel, who shall exercise his or her professional judgment in accordance with the
                  Rules of Professional Conduct and any other relevant rules governing the duties
                  and obligations of attorneys to their clients. The Trust shall be responsible for the
                  payment of all reasonable and necessary Defense Costs (defined below) as provided
                  in Section 10 hereof.

         (viii) Insurer Participation.

                  (a)    The Trust will provide prompt notice to any potentially responsible Non-
                         Settling Insurer(s) (“Responsible Insurer(s)”) of any claim for which the
                         Independent Review Claimholder has elected the Verdict Value
                         Assessment.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                   TDP Page 7 of 16




                  (b)    Any Responsible Insurer shall be given a reasonable opportunity to
                         participate in the Verdict Value Assessment at its sole expense. Any
                         Responsible Insurer who chooses to participate may raise and present any
                         potentially applicable defenses to the Independent Review Claim to the
                         Neutral.

         (ix)     Verdict Value Procedures. The precise method, manner and procedures by which
                  the Neutral shall determine the Verdict Value, which shall be the amount (if any)
                  of damages and other costs that a reasonable jury might award, shall be decided by
                  the Neutral upon written notice to the Independent Review Claimholder or his or
                  her counsel, the Trust, the Diocese Affiliated Entities and any Responsible Insurers.

         (x)      Issuance of the Verdict Value Determination. The Verdict Value determined by
                  the Neutral shall be issued in the form of a written decision and shall be provided
                  to the Independent Review Claimholder or his or her counsel, the Trust, the Diocese
                  Affiliated Entities and any Non-Settling Insurer (the “Verdict Value
                  Determination”).

         (xi)     Appeal of the Verdict Value Determination. The Trust Administrator may seek to
                  appeal the Verdict Value Determination through use of the State Court Option
                  (defined below) by notifying the Independent Review Claimholder or his or her
                  counsel, the Diocese Affiliated Entities and any Non-Settling Insurer within 14
                  days of issuance of the Verdict Value Determination.

         (xii)    Offer Within Limits. If the Trust Administrator does not seek to use the State Court
                  Option as provided for above, the Trust Administrator shall make a written offer to
                  any Responsible Insurer requesting that such Responsible Insurer satisfy the
                  amount awarded an Independent Review Claimholder under a Verdict Value
                  Determination within the relevant limits of the Non-Settling Insurer Policy (the
                  “Offer within Limits”).

         (xiii) Stipulation of Judgment. If the Responsible Insurer fails to satisfy the Offer within
                Limits within 30 days of receipt of the Offer within Limits, the Trust Administrator
                shall have the sole discretion to reduce the Verdict Value or any portion thereof to
                a Stipulation of Judgment which shall be executed by the Independent Review
                Claimholder, the Trust Administrator and the Diocese Affiliated Entities (the
                “Stipulation of Judgment”).

                  The Trust Administrator shall also have the sole discretion to issue a demand letter
                  to any applicable Responsible Insurer(s) seeking satisfaction of the Stipulation of
                  Judgment in whole or in part (the “Responsible Insurer Demand Letter”).

                  If the Responsible Insurer(s) refuses to satisfy the amounts demanded in the
                  Responsible Insurer Demand Letter within 30 days of receipt of the Responsible
                  Insurer Demand Letter, then the Trust Administrator may (i) exercise any and all
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4883-1853-7251, v. 1
     Case 20-21257-JNP                    Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                    TDP Page 8 of 16




                  rights available to (i) it, (ii) the Independent Review Claimholder (which shall be
                  deemed to have assigned the full amount of such Stipulation of Judgment to the
                  Trust) and (iii) the Diocese Affiliated Entities as provided for in the Plan and under
                  applicable law, and the Trust Administrator expressly reserves any and all rights
                  against the Responsible Insurer(s), including but not limited to, pursuing the
                  Responsible Insurer(s) for any available remedy including, but not limited to, all
                  Coverage Claims.

         (xiv)    Distribution Enhancements.

                  (a)    If (i) a settlement is reached with a Responsible Insurer(s) on an
                         Independent Review Claim or (ii) the Trust obtains a judgment against the
                         Responsible Insurer for its failure to pay the amounts it is responsible to pay
                         under the Stipulation of Judgment and the Responsible Insurer pays any
                         such amounts to the Trust (in either case, the “Responsible Insurer
                         Recovery”), then the proceeds comprising the Responsible Insurer
                         Recovery will be distributed as follows:

                                 FIRST, to reimburse the Trust for all reasonable attorneys’ fees,
                                 expenses and costs expended in obtaining the Responsible Insurer
                                 Recovery, including reimbursement for payment of any Defense
                                 Costs;

                                 SECOND, to the extent not already paid by the Trust, to reimburse
                                 the Diocese Affiliated Entities for any indemnification claims they
                                 have against the Trust as specified below; and

                                 THIRD, as follows:

                                 (1)     If a settlement is obtained with the Responsible Insurer(s) on
                                         an Independent Review Claimant’s Independent Review
                                         Claim only before the Verdict Value Determination was
                                         issued, then the Independent Review Claimholder shall
                                         receive 10% of the Responsible Insurer Recovery in addition
                                         to the Distribution determined by the Abuse Claims
                                         Reviewer hereunder, with the remainder to go to the Trust.

                                 (2)     If a judgment is obtained against the Responsible Insurer(s)
                                         on an Independent Review Claimant’s Independent Review
                                         Claim for failure to pay the amounts due under the Verdict
                                         Value Determination, then the Independent Review
                                         Claimholder shall receive 25% of the Responsible Insurer
                                         Recovery in addition to the Distribution determined by the
                                         Abuse Claims Reviewer hereunder, with the remainder to go
                                         to the Trust.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                  TDP Page 9 of 16




                                (3)     If a settlement resolving any and all Abuse Claims is reached
                                        with any Responsible Insurer, then all Independent Review
                                        Claimholders who have commenced active participation in
                                        the Verdict Value Assessment with claims implicating a
                                        policy or policies issued by that Responsible Insurer shall
                                        receive an enhancement of its distribution of the proceeds of
                                        that settlement under the point system of no less than 10%
                                        but no more than 25%, as awarded in the reasonable
                                        discretion of the Trust Administrator.

         9.       The State Court Option.

         (i)      Availability of the State Court Option. These Trust Distribution Procedures permit
                  the use of the State Court Option only if:

                  (a)    An Abuse Claimant’s Abuse Claim is not Allowed by the Abuse Claims
                         Reviewer after a Reconsideration Request;

                  (b)    An Allowed Claim is not Allowed in an amount acceptable to the Allowed
                         Claimholder after a Reconsideration Request;

                  (c)    An Independent Review Claimholder’s Independent Review Claim is not
                         Allowed in an amount acceptable to the Trust Administrator under a Verdict
                         Value Determination; or

                  (d)    A Stipulation of Judgment is determined by a court of competent
                         jurisdiction to be invalid or set aside based on any grounds, including, but
                         not limited to, it being an unreasonable settlement or based on fraud or
                         collusion.

         (ii)     Use of the State Court Option. If the State Court Option may be exercised under
                  these Trust Distribution Procedures under Section 9(i)(a) or (b), the Abuse
                  Claimant (in such instance the Abuse Claimant shall be referred to herein as the
                  “State Court Option Claimant,” and its claim, the “State Court Option Claim”):

                  (a)    May commence an action in a court of competent jurisdiction against the
                         Trust, as successor in interest to the Diocese Affiliated Entities.

                  (b)    The State Court Option Claimant shall be responsible for all of its costs and
                         expenses and shall not be entitled to reimbursement of costs or expenses
                         incurred from the Trust.

                  (c)    Any recoveries for a State Court Option Claim from a Responsible Insurer
                         are payable to, and shall be paid to, the Trust.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                     Desc
                                                 TDP Page 10 of 16




                  (d)    A State Court Option Claimant who pursues a State Court Option Claim
                         shall have an Allowed Claim Amount equal to zero if the litigation is
                         dismissed or claim denied.

                  (e)    If a State Court Option Claimant’s Abuse Claim is Allowed through the
                         State Court Option, the Allowed Amount of the State Court Option Claim
                         shall be determined by the Abuse Claims Reviewer in accordance with these
                         Trust Distribution Procedures consistent with the findings of fact and
                         conclusions of law made by the court of competent jurisdiction.

                  If the State Court Option may be exercised under these Trust Distribution
                  Procedures under Section 9(i)(c) or (d), the Trust Administrator:

                  (a)    May commence an action in a court of competent jurisdiction against the
                         relevant Diocese Affiliated Entity.

                  (b)    The Trust shall be responsible for all of its costs and expenses and pay the
                         relevant Diocese Affiliated Entity’s Defense Costs as set forth below.

                  (c)    If a judgment is entered in favor of the Trust against a Diocese Affiliated
                         Entity, the Trust may exercise all rights and remedies against the
                         Responsible Insurer as provided for in the Plan.

                  (d)    Any recoveries in respect of a Responsible Insurer’s liability is payable to
                         the Trust and shall be paid in accordance with the terms of this Trust
                         Distribution Plan.

If the State Court Option is exercised under these Trust Distribution Procedures, the Trust shall be
responsible for all of the relevant Diocese Affiliated Entity’s Defense Costs as set forth in Section
10 below.

         (iii)    Tender to Responsible Insurers. If an Abuse Claimant is authorized to file suit
                  against the Trust as provided for by this Section, the Trust Administrator shall
                  determine whether any Responsible Insurer issued coverage that is available to
                  respond to the lawsuit (an “Insured Lawsuit”). The Trust Administrator may
                  determine that there are multiple Responsible Insurers that have responsibility to
                  defend an Insured Lawsuit. The Trust Administrator shall provide notice, and if
                  applicable, seek defense, of any Insured Lawsuit to each Responsible Insurer from
                  whom the Trust Administrator determines insurance coverage may be available in
                  accordance with the terms of each applicable Responsible Insurer Policy.

         (iv)     Parties to Lawsuit. Any lawsuit commenced under Section 9(i)(a) or (b) hereof
                  must be filed by the Abuse Claimant in his or her own right and name and not as a
                  member or representative of a class, and no such lawsuit may be consolidated with
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4883-1853-7251, v. 1
     Case 20-21257-JNP                   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                      Desc
                                                  TDP Page 11 of 16




                  any other lawsuit, unless otherwise agreed to by the Trust Administrator. The
                  Abuse Claimant may assert his or her Abuse Claim against the Trust as if the Abuse
                  Claimant were asserting such claim against the Diocese Affiliated Entities and the
                  discharge and injunctions in the Plan had not been issued. The Abuse Claimant
                  may name any person or entity that is not a Covered Party, including Responsible
                  Insurers to the extent permitted by applicable law. Abuse Claimants may pursue in
                  any manner or take any action otherwise permitted by law against persons or
                  entities that are not Covered Parties.

         (v)      Defenses. All defenses (including, with respect to the Trust, all defenses that could
                  have been asserted by the Diocese Affiliated Entities, except as otherwise provided
                  in the Plan) shall be available to all parties (which may include any Responsible
                  Insurers) at trial.

         (vi)     Trust Liability for, and Allowance of, State Court Option Claims. An Abuse
                  Claimant who pursues a State Court Option Claim shall have an Allowed Claim
                  Amount equal to zero if the litigation is dismissed or claim denied. If an Abuse
                  Claimant’s Abuse Claim was disallowed by the Abuse Claims Reviewer but is
                  subsequently Allowed through the State Court Option, the Allowed Amount of the
                  State Court Option Claim shall be determined by the Abuse Claims Reviewer in
                  accordance with these Trust Distribution Procedures consistent with the findings of
                  fact and conclusions of law made by the court of competent jurisdiction.

        10.     Defense Costs. The Trust will fund all reasonable and necessary out of pocket
attorneys’ fees, costs and other expenses of each Diocese Affiliated Entity in connection with their
participation in the Trust Distribution Procedures (“Defense Costs”); provided, however, that if a
Responsible Insurer defends the Diocese Affiliated Entity in connection with their participation in
the Trust Distribution Procedures, the Trust shall be relieved of its obligation to pay any Defense
Costs; provided, further, however, that if a Non-Settling Insurer has a duty to defend, or has a duty
to reimburse the defense costs of, a Diocese Affiliated Entity but fails to honor that obligation, the
Trust will advance or reimburse the Diocese Affiliated Entity for reasonable and necessary
Defense Costs. A Diocese Affiliated Entity’s selection of legal counsel shall be consistent with
the relevant Diocese Affiliated Entity’s historical retention and use of such counsel, who shall
exercise his or her professional judgment in accordance with the Rules of Professional Conduct
and any other relevant rules governing the duties and obligations of attorneys to their clients. For
the purposes of clarity and avoidance of doubt: (i) the Diocese Affiliated Entities shall be made
whole from the Trust for any actually expended or incurred Defense Costs for their participation
in the Trust Distribution Procedures and (ii) any Defense Costs previously paid by the Trust to a
Diocese Affiliated Entity shall be reimbursed to the Trust upon the Responsible Insurer’s
satisfaction of any such amounts.

         11.      Allowance and Evaluation of Abuse Claims - Initial Review Determination.

         (i)      Evaluation Factors. If an Abuse Claim is Allowed, the Abuse Claims Reviewer
                  shall determine the value of such Allowed Claim by assigning such Allowed Claim
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4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                        Desc
                                                 TDP Page 12 of 16




                  a point value pursuant to the following factors (the “Evaluation Factors”).
                  Although the factors below collectively comprise the methodology that must be
                  applied in reviewing Allowed Claims, the Abuse Claims Reviewer may, as
                  indicated below, take into account considerations in addition to those identified
                  herein when evaluating an Allowed Claim within the parameters of the delineated
                  factors.

                  (a)    Nature of Abuse & Circumstances. A point value ranging from 0 to 55
                         should be allocated for this section.

                         Considerations should include, but are not limited to, the following factors:

                         1.     The duration and/or frequency of the abuse;

                         2.     Type of abuse: e.g. penetration, attempted penetration,
                                masturbation, oral sex, touching under the clothing, touching over
                                the clothing, removing of clothing covering genitals, exposure of
                                perpetrator’s genitals, kissing, sexualized talk, etc.;

                         3.     Circumstances of abuse:

                                A.      grooming behaviors including but not limited to special
                                        privileges, special activities, and attention, social
                                        relationship with parents, personal relationship with
                                        claimant, opportunity to experience sports or activities,
                                        isolation from others, use of alcohol or illicit drugs by abuser
                                        or claimant or use of or exposure to pornography;

                                B.      coercion or threat or use of force or violence, stalking;

                                C.      relationship of claimant to perpetrator including but not
                                        limited to whether claimant was a parishioner or student,
                                        held perpetrator in high regard, whether perpetrator was in
                                        position of trust, whether perpetrator had unsupervised
                                        access to claimant, and whether claimant valued relationship
                                        with perpetrator; and

                                D.      Diocese’s legal responsibility including but not limited to
                                        whether the perpetrator is identified by name, whether the
                                        perpetrator was a Diocese priest, cleric, employee or agent,
                                        whether there were multiple allegations/claims/lawsuits
                                        against the perpetrator, whether the perpetrator appears on
                                        the Diocese’s credibly accused list, and whether the
                                        perpetrator appears on any credibly accused list.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                  Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                         Desc
                                                 TDP Page 13 of 16




                  (b)   Impact of the Abuse. A point value ranging from 0 to 40 should be allocated
                        for this section.

                        Overall, this category will evaluate how the abuse impacted the Allowed
                        Claimholder. This includes how the abuse impacted the Allowed
                        Claimholder’s mental health, physical health, spiritual well-being, inter-
                        personal relationships, vocational capacity or success, academic capacity or
                        success, and whether the abuse at issue resulted in legal difficulties for the
                        claimant. Some of these considerations may include the below factors, but
                        the below list is not intended to be exhaustive.

                        The Abuse Claims Reviewer should consider, along with any and all other
                        relevant factors, whether the abuse at issue manifested, or otherwise led the
                        claimant to experience, or engage in behaviors resulting from:

                               A.      Mental Health Issues: This includes but is not limited to
                                       anxiety, depression, post-traumatic stress disorder,
                                       substance abuse, addiction, embarrassment, fear, flashbacks,
                                       nightmares, sleep issues, sleep disturbances, exaggerated
                                       startle response, boundary issues, self-destructive behaviors,
                                       guilt, grief, homophobia, hostility, humiliation, anger,
                                       isolation, hollowness, regret, shame, isolation, sexual
                                       addiction, sexual problems, sexual identity confusion, low
                                       self-esteem or self-image, bitterness, suicidal ideation and
                                       suicide attempts.

                               B.      Physical Health Issues: This includes but is not limited to
                                       physical     manifestations      of   emotional    distress,
                                       gastrointestinal issues, headaches, high blood pressure,
                                       physical manifestations of anxiety, erectile dysfunction,
                                       heart palpitations, sexually-transmitted diseases, physical
                                       damage caused by acts of abuse, reproductive damage, self-
                                       cutting and other self-injurious behavior.

                               C.      Spiritual Wellbeing: This includes but is not limited to loss
                                       of faith in God, loss of faith and trust in religion and spiritual
                                       distress.

                               D.      Interpersonal Relationships: This includes but is not limited
                                       to problems with authority figures, hypervigilance, sexual
                                       problems, marital difficulties, problems with intimacy, lack
                                       of trust, isolation, betrayal, impaired relations, secrecy,
                                       social discreditation and isolation; damage to family
                                       relationships, and fear of children or parenting.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                     Desc
                                                  TDP Page 14 of 16




                                 E.     Vocational Capacity: This includes but is not limited to
                                        under- and un-employment, difficulty with authority figures,
                                        difficulty changing and maintaining employment, feeling of
                                        unworthiness or guilt related to financial success.

                                 F.     Academic Capacity: This includes but is not limited to
                                        school behavior problems.

                                 G.     Legal Difficulties: This includes but is not limited to
                                        criminal difficulties, bankruptcy.

                  (c)    Claimant Involvement. A point value ranging from 0 to 5 should be
                         allocated for this section.

                         The Abuse Claims Reviewer shall consider that all Allowed Claimholders
                         have benefited from the work and cost incurred by those Abuse Claimants
                         who asserted claims against the Diocese before the bankruptcy was filed
                         and have participated in the legal and factual development of claims against
                         the Diocese. The Abuse Claims Reviewer should consider factors,
                         including, but not limited to, whether the Allowed Claimholder filed a pre-
                         petition lawsuit; whether the Allowed Claimholder and/or the Allowed
                         Claimholder’s family has been subject to a deposition, mediation or
                         interview; whether the Allowed Claimholder has participated on the Tort
                         Committee; and whether the Allowed Claimholder participated in
                         publicizing the issue of clergy sex abuse which has benefitted all claimants.

         (ii)     Reduction. If the Allowed Claimholder’s abuser(s) belonged to a religious order
                  or was affiliated with the Boy Scouts of America, the Allowed Claimholder’s final
                  points distribution shall be reduced by 33%.

                  If the Abuse Claimant received a monetary distribution from another diocese or
                  archdiocese on account of the same Abuse that is the subject of his or her Abuse
                  Claim, or received a monetary distribution from the Diocese of Camden for which
                  the legitimacy of any claimed settlement has been reasonably contested by the
                  Abuse Claimant, the Abuse Claimant’s final points distribution shall be reduced by
                  50%.

         (iii)    Minimum Point Allocation. Notwithstanding anything to the contrary herein or in
                  the Plan, every holder of an Allowed Claim shall receive a point allocation of at
                  least 15, unless the Abuse Claim is disallowed in its entirety by a Final Order of a
                  court of competent jurisdiction.

        12.     Establishing Reserves. The Trust Administrator is vested with authority to
establish, and subsequently modify, any and all reserves required to fund all costs and expenses of
the Trust before distributions are made to Holders of Allowed Abuse Claims.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                   Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                    Desc
                                                  TDP Page 15 of 16




        13.     Distributions from the Trust. After the Abuse Claims Reviewer has made all
determinations regarding whether an Abuse Claim is an Allowed Claim and the amount of such
Claim is final under the procedures set forth herein, the Abuse Claims Reviewer shall determine
the dollar value of each Abuse Claimant’s actual distribution based on the Class 5 Claimant’s pro
rata share of the total final points assigned and the available funds for Distribution; provided,
however, at the Trust Administrator’s discretion, each Holder of an Allowed Abuse Claim may
receive an initial distribution from the Trust and subsequent distributions from the Trust as
proceeds become available, including from settlements with Responsible Insurers, until all Trust
Assets have been substantially disbursed such that the Trust Administrator can no longer make a
cost-effective and meaningful distribution to Holders of Allowed Class 5 Claims.

       14.    The Review of Class 6 Claims. The Abuse Claims Reviewer shall evaluate Class
6 Claims in accordance with the procedures set forth herein provided that the relevant deadlines
for doing so shall be set forth in a letter substantially similar to the Initial Claims Review
Determination Letter.

       Holders of Unknown Abuse Claims shall receive a pro rata distribution from the Unknown
Abuse Claim Reserve Fund established by the Trust Administrator. The distribution to each
Unknown Abuse Claimant shall be determined by taking the points assigned to each Unknown
Abuse Claim, divided by the combined total points assigned to all Unknown Abuse Claims,
multiplied by the amount held in the Unknown Abuse Claim Reserve Fund. No Unknown Abuse
Claimant shall receive more than he or she would have as a Class 5 Claimant. The Trust
Administrator shall make an immediate distribution of up to $20,000 to the holders of allowed
Unknown Abuse Claims immediately upon determination by the Abuse Claims Reviewer, with
the remaining portion of the Claim paid at the termination of the Unknown Abuse Claim Reserve
Fund as provided for in the Trust Agreement.

        15.      Tolling of Limitations Period. The running of any relevant statute of limitation
shall be tolled as to each Abuse Claimant’s Abuse Claim until all Abuse Claims are resolved under
these Trust Distribution Procedures or are otherwise resolved by a Final Order.

         16.      Reservation of Rights.

         (i)      The Trust’s payment to an Allowed Claimholder that has recovered a judgment or
                  settlement does not affect in any way the Trust’s right to collect insurance policy
                  proceeds from any Non-Settling Insurer, nor does it affect in any way the Trust’s
                  right to bring any Claims against the Non-Settling Insurer that have been assigned
                  to the Trust or that belong to the Trust by operation of law.

         (ii)     If a court of competent jurisdiction enters a Final Order holding that the Trust
                  Distribution Plan constitutes a default under, or is a breach of, any Non-Settling
                  Insurance Policy, then all rights vested in the Trust, as successor to the Diocese
                  Affiliated Entities, under the Plan are reserved and preserved to prosecute any
                  claims under those policies in accordance with applicable law.
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4883-1853-7251, v. 1
     Case 20-21257-JNP                    Doc 1726-3 Filed 06/01/22 Entered 06/01/22 20:52:45                                        Desc
                                                   TDP Page 16 of 16




         (iii)    The Trust Administrator and the Abuse Claims Reviewer reserve the right to
                  modify the terms of these Trust Distribution Procedures, in consultation with the
                  Trust Advisory Committee, in any manner that is not inconsistent with or otherwise
                  in contravention of the terms of the Plan and the Confirmation Order and at all
                  times to the ends of making certain that Abuse Claimants are treated fairly,
                  equitably and reasonably in light of the finite assets available to satisfy such claims.




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4883-1853-7251, v. 1
